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                 4
                 5    Attorneys for Plaintiff
                      STEPHEN M. TALAMANTES
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                 8
                                                    UNITED STATES DISTRICT COURT
                 9
                                                   EASTERN DISTRICT OF CALIFORNIA
               10
                      STEPHEN M. TALAMANTES,                             Case No. 2:18-cv-03187-MCE-KJN
               11
                                     Plaintiffs,                         STIPULATION AND ORDER OF
               12                                                        DISMISSAL
                             v.
               13
                      SOLANO COUNTY, a government entity;
               14     DALTON MCCAMPBELL, individually and
                      in his official capacity as a Deputy Sheriff for
               15     Solano County Sheriff's Department,

               16                    Defendants.

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                             IT IS HEREBY STIPULATED by and between the parties to this action, through the
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                      plaintiff's attorneys of record and through the defendants' attorneys of record, that the above-
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                      captioned action be, and hereby is, dismissed with prejudice pursuant to Federal Rule of Civil
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                      Procedure 41(a)(1), each side to bear its own fees and costs.
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               22
                      DATED: July 3, 2019                                LAW OFFICES OF JUSTIN K. TABAYOYON
               23
               24
               25                                                        By: /s/ Justin Tabayoyon (as authorized on
                                                                         July 3, 2019) ___________________________
               26
                                                                              JUSTIN TABAYOYON
               27                                                             Attorney for Plaintiff
                                                                              STEPHEN TALAMANTES
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               29                                                        1
                                                                                STIPULATION AND ORDER OF DISMISSAL
               30                                                                              2:18-CV-03187-MCE-KJN
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                  1
                      DATED: July 3, 2019                                SELMAN BREITMAN LLP
                  2
                  3
                  4                                                      By: /s/ Danielle K. Lewis (as authorized on
                                                                         July 3, 2019) ___________________________
                  5                                                           DANIELLE K. LEWIS
                                                                              Attorney For Defendants
                  6                                                           COUNTY OF SOLANO AND
                                                                              DALTON MCCAMPBELL
                  7
                  8
                                                                     ORDER
                  9
                10                      In accordance with the foregoing stipulation of the parties, and good cause

                11    appearing, this action is hereby dismissed, with prejudice, each side to bear its own fees and

                12    costs. The matter having now been concluded in its entirety, the Clerk of Court is directed to

                13    close the file.

                14            IT IS SO ORDERED.

                15    Dated: July 17, 2019

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                                                                                 STIPULATION AND ORDER OF DISMISSAL
                31                                                                              2:18-CV-03187-MCE-KJN
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